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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


  PROLITEC INC.,                                  §
                                                  §
  Plaintiff,                                      §
                                                  §
          v.                                      §
                                                             Civil Action No. 20-984-WCB
                                                  §
  SCENTAIR TECHNOLOGIES, LLC.,                    §
                                                  §
  Defendant.                                      §
                                                  §



                           MEMORANDUM OPINION AND ORDER

          In this patent infringement action, plaintiff and counter-defendant Prolitec Inc. has moved

  for judgment on the pleadings under Federal Rule of Civil Procedure 12(c). Dkt. No. 104. Prolitec

  argues that the patent claims asserted by defendant and counter-claimant ScentAir Technologies,

  LLC., are invalid under 35 U.S.C. § 101 for being directed to patent-ineligible subject matter. For

  the reasons set forth below, the motion is DENIED.

          I. Background

          In its answer to the complaint, Dkt. No. 33, ScentAir asserted various patent infringement

  counterclaims arising from U.S. Patent Nos. 9,446,162; 9,460,404; 9,927,789; and 10,838,388.

  Prolitec moved for judgment on the pleadings on November 28, 2022, in which it argued that all

  the asserted claims of all four asserted patents are invalid under section 101. Part of Prolitec’s

  motion was mooted on June 29, 2023, when ScentAir amended its counterclaims to drop its

  infringement claims based on three of the four patents. The only remaining counterclaims in this

  case are addressed to U.S. Patent No. 10, 10,838,388 (“the ’388 patent”).




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          On August 8, 2023, shortly before the end of expert discovery, the court stayed ScentAir’s

  counterclaim pending resolution of reexamination proceedings before the Patent Office. On May

  8, 2024, after the conclusion of those reexamination proceedings, I asked the parties to re-brief the

  section 101 issue to focus specifically on the ’388 patent.

          The ’388 patent is directed to a scent delivery system in which one or more scent delivery

  devices on a network are managed by a central controller. As the specification explains, generating

  a desired scent profile requires controlling the output of individual scenting units. ’388 patent,

  col. 2, ll. 55–60. Generating a scent profile also requires monitoring the real-time performance of

  devices in the system. Rigorous control is critical to, for example, preventing “overscenting within

  particular areas” or “concurrent emission of conflicting or incompatible scents.” Id. at col. 2, line

  65, through col. 3, line 4.

          The ’388 patent discloses a computer-implemented method for controlling the delivery of

  scents. Specifically, the patent discloses storing verification signals from individual scent units,

  which confirm that each device is functioning properly. The signals are stored on a central

  controller in an “in table.” Id. at col. 16, ll. 30–38. The patent further discloses generating

  “command data” consisting of real-time instructions for the scent delivery units and storing that

  data in an “out table.” Id. at col. 15, line 46, through col. 16, line 14. The scenting schedules of

  each scent delivery unit are aggregated into a “master schedule,” which is also stored in the central

  controller. See id. at col. 4, ll. 51–53.

          Claim 1 is generally representative of ’388 claims for purposes of the present motion. That

  claim recites:

          1. A computer-implemented method for delivering scents, comprising:

          establishing a communication network including a central controller and one or more
          networked scent delivery devices, wherein the central controller is configured to control an

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         operation of each of the one or more networked scent delivery devices, wherein controlling
         the operation is based on one or more master schedules, and wherein the central controller
         stores an in table in which verification information relating to each networked scent
         delivery device is stored and an out table in which instructions for each networked scent
         delivery device are stored;

         generating command data that is configured to control the operation of a networked scent
         delivery device of the one or more networked scent delivery devices, wherein the command
         data is generated based on the instructions stored in the out table of the central controller;
         transmitting the command data to the networked scent delivery device using the
         communication network;

         receiving a signal from the networked scent delivery device using the communication
         network, wherein the signal includes status data representing a status of the networked
         scent delivery device; and

         storing the status associated with the networked scent delivery device in the in table of the
         central controller, wherein the status stored in the in table of the central controller identifies
         a functionality of the networked scent delivery device, thereby providing a real-time status
         update for each networked scent delivery device.

         ScentAir has pleaded in its answer that the claims describe “systems and methods that

  address a technical problem, such as desired scent profiles varying by location, time, and day . . .

  with a technical solution: a scent delivery system that includes one or more scent delivery units

  that are configured to release a fragrance or a scent in a controlled manner.” Dkt. No. 33 at ¶ 76.

  The answer further alleges that “the claims are directed to specific systems and methods for

  delivering scent.” Id. at ¶ 77. In its brief opposing Prolitec’s motion, ScentAir clarified that the

  particular inventive elements that are claimed are the data structures used to generate and store

  instructions and to receive real-time status updates from the scenting devices. Dkt. No. 332 at 9–

  10. According to ScentAir, those data structures, the “in table” and the “out table,” enable more

  efficient delivery of a dynamic scent experience. Id. at 10.

         II. Legal Standards

         A party may move for judgment on the pleadings under Federal Rule of Civil Procedure

  12(c) “[a]fter the pleadings are closed—but early enough not to delay trial.” The same standard

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  that applies under Rule 12(b)(6) applies to a motion brought under Rule 12(c): the court “must

  accept the truth of all factual allegations in the complaint1 and must draw all reasonable inferences

  in favor of the non-movant.” Revell v. Port Auth. of New York & New Jersey, 598 F.3d 128, 134

  (3d Cir. 2010); Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008). Although the court

  generally may not consider matters extraneous to the pleadings, the court may consider an

  undisputedly authentic document that is “integral to or explicitly relied upon in the complaint.”

  See In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997). A Rule 12(c)

  motion will not be granted, however, “unless the movant clearly establishes that no material issue

  of fact remains to be resolved and that he is entitled to judgment as a matter of law.” Rosenau,

  539 F.3d at 221 (quoting Jablonski v. Pan Am. World Airways, Inc., 863 F.2d 289, 290–91 (3d

  Cir.1988)).

         Patent eligibility under 35 U.S.C. § 101 is a question of law based on underlying questions

  of fact. See Berkheimer v. HP Inc., 881 F.3d 1360, 1365 (Fed. Cir. 2018); Sanderling Mgmt. Ltd.

  v. Snap Inc., 65 F.4th 698, 703 (Fed. Cir. 2023). “Section 101 disputes may be resolved on a Rule

  12(b)(6) or Rule 12(c) motion when there are no factual allegations that, taken as true, prevent

  resolving the eligibility as a matter of law.” Sanderling, 65 F.4th at 703 (quoting Uniloc USA, Inc.

  v. LG Elecs. USA, Inc., 957 F.3d 1303, 1306 (Fed. Cir. 2020)). Put differently, patent claims may

  be held ineligible on a Rule 12(c) motion “where the undisputed facts, considered under the

  standards required by that Rule, require a holding of ineligibility under the substantive standards

  of law.” SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018) (citing cases).




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          Because ScentAir is the defendant and counter-plaintiff in this case, the “complaint” for
  purposes of this motion is ScentAir’s answer and counterclaims.
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          III. Subject Matter Eligibility

          Section 101 of the Patent Act defines patent-eligible subject matter. It states: “Whoever

  invents or discovers any new and useful process, machine, manufacture or composition of matter,

  or any new and useful improvement thereof, may obtain a patent therefore, subject to the

  conditions and requirements of this title.” 35 U.S.C. § 101. Ineligible subject matter, for which a

  patent cannot be obtained, includes “[l]aws of nature, natural phenomena, and abstract ideas.”

  Alice Corp. Pty. v. CLS Bank Int’l, 573 U.S. 208, 216 (2014) (quoting Ass’n for Molecular

  Pathology v. Myriad Genetics, Inc., 569 U.S. 576, 589 (2013)). Prolitec alleges that the claims of

  the ’388 patent are directed to a patent-ineligible abstract idea.

          1. Principles

          The Supreme Court’s decision in Alice established a two-step test for determining whether

  patent claims are directed to an unpatentable abstract idea. The first step involves determining

  whether the claim at issue is directed to an “abstract idea” in the first place, as opposed to a concrete

  invention. If the claims are directed to an abstract idea, the second step asks whether the claim

  contains an “inventive concept” that removes the claimed subject matter from the realm of

  abstraction, thereby rendering the claim patentable. See generally Alice, 573 U.S. at 217–18; see

  also Mayo Collaborative Servs. v. Prometheus Lab’ys, Inc., 566 U.S. 66, 72–73 (2012).

          Neither the Supreme Court nor the Federal Circuit has set forth a comprehensive definition

  of an “abstract idea.” See Alice, 573 U.S. at 221 (“[W]e need not labor to delimit the precise

  contours of the ‘abstract ideas’ category in this case.”); Elec. Power Grp., LLC v. Alstom S.A., 830

  F.3d 1350, 1354 (Fed. Cir. 2016) (“We need not define the outer limits of ‘abstract idea . . . .’”).

  Instead, various principles have emerged from the caselaw regarding what is or is not abstract. See

  generally KOM Software Inc. v. NetApp, Inc., No. CV 18-160, 2023 WL 6460025, at *3–5 (D.


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  Del. Oct. 4, 2023); GeoComply Sols. Inc. v. Xpoint Servs. LLC, No. CV 22-1273, 2023 WL

  1927393, at *3–5 (D. Del. Feb. 10, 2023).

          The most critical of those principles for purposes of this case is that a claim that is purely

  functional or aspirational in nature is unpatentably abstract. See Diamond v. Diehr, 450 U.S. 175,

  182 n.7 (1981) (A patent may issue “for the means or method of producing a certain result or

  effect, and not for the result or effect produced.” (citation omitted)); Le Roy v. Tatham, 55 U.S.

  156, 175 (1853) (“A patent is not good for an effect, or the result of a certain process” because

  such patents “would prohibit all other persons from making the same thing by any means

  whatsoever.”). Cases applying that principle focus on whether the claim contains sufficient detail

  to be directed to a patent-eligible process, machine, manufacture, or composition of matter, rather

  than a patent-ineligible result. See SAP America, 898 F.3d at 1167 (considering whether the claim

  had “the specificity required to transform [it] from one claiming only a result to one claiming a

  way of achieving it”); Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC, 874 F.3d 1329,

  1337 (Fed. Cir. 2017) (explaining that courts should “look to whether the claims in the patent focus

  on a specific means or method, or are instead directed to a result or effect that itself is the abstract

  idea and merely invokes generic processes and machinery”); Apple, Inc. v. Ameranth, Inc., 842

  F.3d 1229, 1244 (Fed. Cir. 2016) (explaining that a claim that “calls for the desired result of

  associating a customer’s order with said customer, and does not attempt to claim any method for

  achieving that result,” is abstract, and thus ineligible for patenting). Prolitec argues that the claims

  of the ’388 patent fall within the line of cases finding such claims invalid.

          1. Analysis

          Prolitec argues that claim 1 of the ’388 is directed to the abstract idea of monitoring and

  controlling scent delivery devices on a network. Prolitec’s argument is essentially that, although


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  the claim describes a detailed method for monitoring and controlling devices, the steps of the

  method are described in terms of their result, and the claim “does not sufficiently describe how to

  achieve these results in a non-abstract way.” Two-Way Media, 874 F.3d at 1337 (finding claims

  directed to an abstract idea). “To the extent that the claims recite technical limitations,” Prolitec

  argues, those limitations describe “generic, routine components defined by their function rather

  than any concrete structure.” Dkt. No. 331 at 8. Prolitec’s argument is unpersuasive because it is

  premised on factual issues that must be resolved in ScentAir’s in the Rule 12 posture of this motion.

  See Revell, 598 F.3d at 134; Rosenau, 539 F.3d at 221.

         Claim 1 recites a method for delivering scents comprising “establishing a communication

  network,” “generating command data,” “transmitting the command data,” “receiving a signal from

  the networked scent delivery device,” and “storing” the device’s status within a central controller.

  Those steps are generic to controlling scent devices on a network. More specifically, however, the

  claims require that the communication network control the devices based on “one or more master

  schedules,” and that the central controller of the network store verification data relating to each

  device in an “in table” and store instructions for each device in an “out table.” ScentAir argues

  that the “in table” and “out table” are more than generic data structures, but instead constitute

  tangible improvements to a technological process, thereby rendering the claims not abstract. See

  Visual Memory LLC v. NVIDIA Corp., 867 F.3d 1253, 1259–62 (Fed. Cir. 2017); Enfish, LLC v.

  Microsoft Corp., 822 F.3d 1327, 1336 (Fed. Cir. 2016).

         Whether the “in table” and “out table” are more than generic data structures is a fact

  question that, on a Rule 12(c) motion, must be resolved in favor of ScentAir. Although Prolitec

  argues that the specification describes those tables as generic data structures, the portions of the

  patent that Prolitec cites do not expressly state that the structures are generic. See ’388 patent at



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  col. 16, ll. 5–8; col. 18, line 62, though col. 19, line 3. That finding requires the court to consider

  extraneous information and draw an inference in favor of Prolitec, which it cannot do in this

  posture. Put differently, Prolitec’s motion is premised on the factual notion that the claims call for

  “a generic network” to be used “in a normal way,” Dkt. No. 331 at 14 (citing ChargePoint v.

  SemaConnect, Inc., 920 F.3d 759, 766–70 (Fed. Cir. 2019)), but that finding is disputed by

  ScentAir. ScentAir has pleaded that the claims describe “systems and methods that address a

  technical problem,” and that the claims themselves “are directed to specific systems and methods

  for delivering scent,” id. at ¶¶ 76–77, statements that it has clarified to refer to the “in table” and

  the “out table,” Dkt. No. 332 at 9–10. That deficiency is fatal to Prolitec’s position at this juncture.

          Prolitec further argues that the claims are directed to a mental process that can be performed

  by a human with pen and paper, but that argument is unpersuasive for the same reason: it assumes

  that the “in table” and “out table” are nothing more than generic lists a person could keep manually.

  For the same reasons detailed above, this court must resolve that question in ScentAir’s favor and

  infer that the named tables recite specific technological improvements beyond implementing what

  could be a pen-and-paper process onto a computer.

                                                 *****

          For the foregoing reasons, Prolitec’s motion is DENIED. Prolitec may re-raise its motion

  at a later stage in the case, at which point the court will reconsider the effect of the “in table” and

  “out table” limitations on the patentability of the claims under the appropriate factual standard.




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        IT IS SO ORDERED.

        SIGNED this 24th day of June, 2024.



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                                              WILLIAM C. BRYSON
                                              UNITED STATES CIRCUIT JUDGE




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